  Case 5:22-cv-03154-JWL-JPO Document 18 Filed 10/19/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


NICHOLAS COX,

                     Plaintiff,

              v.                                          CASE NO. 22-3154-JWL-JPO

JEFF ZMUDA, et al.,

                     Defendants.



                                           ORDER

       This matter is before the Court on the Motion for Leave to File Under Seal Addresses of

Former KDOC Employee Defendants (Doc. 17), filed by the Office of Kansas Attorney General.

For good cause shown,

       IT IS THEREFORE ORDERED BY THE COURT that the Motion for Leave to File

Under Seal Addresses of Former KDOC Employee Defendants (Doc. 17) is granted.

       IT IS FURTHER ORDERED that Doc. 17–1 shall be filed under seal.

       IT IS FURTHER ORDERED that the Clerk is directed to use the address in Doc. 17–1 for

the sole purpose of attempting to effect service of process. The Clerk shall request a waiver of

formal service from the Defendant.

       IT IS SO ORDERED.

       Dated October 19, 2022, in Kansas City, Kansas.

                                           S/ James P. O’Hara
                                           JAMES P. O’HARA
                                           UNITED STATES MAGISTRATE JUDGE
